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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

INMAR, INC. and COLLECTIVE BIAS, INC.,

                         Plaintiffs,                 Case No: 18-cv-2306

         v.                                        Judge Charles R. Norgle

MONICA MURPHY VARGAS and MLW
SQUARED, INC., d/b/a AHALOGY,

                         Defendants.


 MEMORANDUM OF LAW IN SUPPORT OF MONICA MURPHY VARGAS’ AND
    MLW SQUARED, INC.’S JOINT MOTION TO DISMISS COMPLAINT
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       Defendants Monica Murphy Vargas (“Monica”) and MLW Squared, Inc., d/b/a Ahalogy

(“Ahalogy”) (collectively “Defendants”) submit this joint Memorandum in support of their Motion

to Dismiss the Complaint. For reasons presented below, Plaintiffs Inmar, Inc. (“Inmar”) and

Collective Bias, Inc. (“Collective Bias”) (collectively “Plaintiffs”) have not stated valid claims,

and the Complaint should be dismissed with prejudice pursuant to Federal Rule of Civil Procedure

12(b)(6).

                                        INTRODUCTION

       Plaintiffs seek to restrain Monica, Collective Bias’ former employee, from pursuing her

livelihood with Ahalogy solely due to the fact that Ahalogy competes in the marketing industry

alongside Collective Bias. Plaintiffs filed their Complaint seven months after Monica resigned

from Collective Bias and began working at Ahalogy, and tellingly, did not seek preliminary

injunctive relief. Even after waiting an unreasonably long time to bring their claims, Plaintiffs still

cannot identify exactly how they have been damaged by Defendants. Plaintiffs’ claims are nothing

more than a late attempt to harass Monica’s and Ahalogy’s ability to engage in fair competition.

Given Illinois’ strong public policy in disfavoring restrictive covenants, and Plaintiffs’ failure to

adequately plead a single claim, the Complaint should be dismissed with prejudice.

       Specifically, Plaintiffs’ breach of contract claims attempt to enforce two different

restrictive covenant agreements against Monica, hoping one “sticks” with this Court. However,

the first agreement was superseded by the second agreement’s terms, and at any rate, the first and

second agreements’ restrictive covenants are both unreasonably broad and similarly lack

consideration. Notably, Plaintiffs do not allege how Monica caused any damages. Plaintiffs’ trade

secret claims also fail because none of the information alleged by Plaintiffs is secret, and Plaintiffs

do not allege how Ahalogy or Monica used any trade secrets. Likewise, Plaintiffs’ Computer

Fraud and Abuse Act claim should be dismissed because Plaintiffs have not alleged that Monica


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caused any damage to their computer systems. Finally, Plaintiffs’ common law claims are all

preempted by the Illinois Trade Secrets Act (“ITSA”).

       While the Complaint is long in length, it is short in actual substance. When one delves into

the heart of Plaintiffs’ allegations, it is clear that Plaintiffs’ primary gripe is that Monica went to

work for a competitor, and all other ostensible transgressions—which happened many months

ago—are just an attempt to slow down Plaintiffs’ emerging competitor in the marketplace. The

facts, as pled, show that Monica worked hard for Collective Bias and now simply attempts to

pursue her trade elsewhere. For these reasons, the Complaint should be dismissed with prejudice.

                                   FACTUAL ALLEGATIONS

       The Complaint alleges the following facts, which Defendants assume are true solely for

purposes of this Motion to Dismiss:

       Collective Bias’s Industry

       Collective Bias is a Delaware corporation conducting business in “influencer marketing,”

which is a form of marketing where a seller leverages popularity and credibility of specific

individuals to market a product. Compl. ¶¶ 13-14, ECF No. 1. Plaintiffs claim that Collective

Bias is a direct competitor of Ahalogy. Id. ¶ 94.

       Monica’s Tenure with Collective Bias

       Plaintiffs allege that on November 19, 2015, Collective Bias hired Monica to serve as its

“Senior Director of Business Development.” Id. ¶ 29. Monica signed an employment agreement

(the “Collective Bias Agreement”) and became an employee of Collective Bias. Id. ¶¶ 30-31.

According to Plaintiffs, Monica had job duties that revolved around sales and client management.

Id. ¶ 33. Monica allegedly used Collective Bias’s confidential information during the course of

her duties. Id. ¶ 34. Collective Bias allegedly provided Monica with a keycard to its facilities, a




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laptop computer to conduct business, an email account and access to Collective Bias’s computer

network and all of Collective Bias’s “employees, clients and prospective clients.” Id. ¶ 32.

       Inmar’s Acquisition of Collective Bias

       Plaintiffs allege that on or around December of 2016, Inmar acquired Collective Bias and

“continued to operate” Collective Bias “as its own entity.” Id. ¶ 37. Inmar, however, required

Monica and all other Collective Bias employees to sign another document with restrictive

covenants, entitled the “Confidential and Proprietary Rights Assignment Agreement”

(“CAPRAA”). Id. Monica and other employees were required to sign the CAPRAA in exchange

for “additional benefits,” which Inmar does not specify. Id. ¶ 38. Plaintiffs allege that after signing

the CAPRAA, Monica had access to Inmar’s unspecified “property and its confidential and

proprietary information.” Id. ¶ 39.

       Monica’s Departure from Collective Bias

       On August 24, 2017, after allegedly working with a recruiter, Monica submitted her

resignation to Plaintiffs. Id. ¶¶ 49, 55. Shortly thereafter, she began working for Ahalogy. Id. ¶¶

56-57. Plaintiffs allege that because Monica is in marketing sales for Ahalogy regarding “brands”

and “agencies,” her job duties for Ahalogy are “nearly identical” to her previous duties for

Collective Bias. Id. ¶ 50. Plaintiffs compare Monica’s current and previous job descriptions and

find overlap concerning things like: expertise on “all things social media;” understanding “product

offering, positioning, pricing, and competitor differences;” “effectively prospect[ing] potential

clients;” and meeting “annual sales goals.” Id. ¶ 51.

       Monica, before leaving Collective Bias, allegedly forwarded a few emails from her work

computer to her personal email account. Id. ¶ 54. Plaintiffs allege that these emails consisted of:

client identities and contact information (id. ¶ 54(a), (e)-(g)); past discussions with clients and

explanations of services (id. ¶ 54(a), (g)); and “research” on client and industry developments. Id.


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¶¶ 54(b)-(f), 55. Plaintiffs claim that upon her arrival to Ahalogy, Monica “immediately began

using the information she had stolen from Plaintiffs.” Id. ¶ 56. However, Plaintiffs only provide

one alleged example of such use: Plaintiffs claim that on August 24, 2017, Monica “reached out

to inform a specific client of Plaintiffs that she was leaving Plaintiffs,” and that a month later, she

contacted this client to convey her new employer and request a meeting. Id. ¶ 57.

       Plaintiffs’ Claims

       Plaintiffs filed a complaint against Monica and Ahalogy on March 29, 2018, over seven

months after Monica resigned from Collective Bias. See Compl. The Complaint alleges breach

of non-competition and non-solicitation clauses (both under the Collective Bias Agreement and

the CAPRAA), trade secret misappropriation, violation of the Computer Fraud and Abuse Act,

and common law claims. Id. Plaintiffs have not moved for a temporary restraining order or

preliminary injunction in this case, nor have Plaintiffs alleged that they lost any customers or

accounts as a result of Defendants’ actions.

                                       LEGAL STANDARD

       In order to survive dismissal under Rule 12(b)(6), Plaintiffs “must ‘state a claim to relief

that is plausible on its face.’” Adams v. City of Indianapolis, 742 F.3d 720, 728 (7th Cir. 2014)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009)). “Factual allegations are accepted as true at the pleading stage, but ‘allegations in the

form of legal conclusions are insufficient to survive a Rule 12(b)(6) motion.’” Id. (citation

omitted). “Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Id. (quoting Iqbal, 556 U.S. at 678).




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                                          ARGUMENT

I.      PLAINTIFFS’ BREACH OF CONTRACT CLAIMS SHOULD BE DISMISSED
        BECAUSE THE RESTRICTIVE COVENANTS THAT MONICA SIGNED ARE
        UNENFORCEABLE AS A MATTER OF LAW.

        Plaintiffs have brought claims against Monica for breach of non-competition and non-

solicitation clauses under both the Collective Bias Agreement (Count III) and the subsequently-

signed CAPRAA (Count IV), presumably to see whether either count can survive pleadings

standards. Neither claim is valid, as both contracts are unenforceable either in whole or in part.

        A.     The Collective Bias Agreement Is Unenforceable as a Matter of Law.

               1.      The Collective Bias Agreement Was Superseded by the CAPRAA And
                       Is Therefore Unenforceable.

        Plaintiffs bring a claim for breach of contract under the Collective Bias Agreement (Count

III). However, the Collective Bias Agreement is unenforceable as a matter of law because it was

superseded by the CAPRAA; the parties, by signing the CAPRAA and including an unambiguous

integration clause in the CAPRAA, intended that any prior agreements between Monica and

Plaintiffs be extinguished.

        In examining contractual terms, this Court must give effect to the intent of the parties.

Schultz v. Ill. Farmers Ins., 930 N.E.2d 943, 948 (Ill. 2010). The Collective Bias Agreement was

signed by Monica and representatives of Collective Bias on November 16, 2015. See Collective

Bias Agreement, ECF No. 1-1. In Section 12, the Collective Bias Agreement provides that it “may

be modified or amended, if the amendment is made in writing and is signed by both parties.” Id.

§ 12. On December 23, 2016, Monica signed the CAPRAA, an agreement between Monica and

Inmar and “its subsidiary companies,” i.e. Collective Bias. See CAPRAA, at 1, ECF No. 1-2; see

also Compl. ¶¶ 10, 37 (Plaintiffs alleging that Collective Bias is a subsidiary of Inmar). Section

21.4 of the CAPRAA contains an integration clause stating the following: “This CAPRAA is the

final, complete and exclusive agreement of the parties with respect to the subject matter hereof and


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supersedes and merges all prior discussions between us.” CAPRAA § 21.4 (emphasis added). In

other words, the parties intended that the restrictive covenants in the Collective Bias Agreement

be superseded by those in the CAPRAA. See Avery Dennison Corp. v. Naimo, No. 06 C 3390,

2006 WL 3343762, *3-4 (N.D. Ill. Nov. 16, 2006) (dismissing an employer’s breach of contract

claim under a non-compete because the parties signed a subsequent severance agreement that

superseded the original restrictive covenant); see also Henley Paper Co. v. McAllister, 117 S.E.2d

431, 435 (N.C. 1960) (finding that a contract with restrictive covenants was superseded by a second

contract that omitted the covenants). Thus, the Collective Bias Agreement is unenforceable, and

this Court should dismiss Count III with prejudice.

               2.      Even if the Collective Bias Agreement Was Not Superseded, Its Non-
                       Competition Clause Is Facially Unreasonable in Its Terms.

       Even if the Collective Bias Agreement was not superseded by the CAPRAA, it contains a

non-competition clause that is an unenforceable per se restriction on Monica’s right to earn a living

in her chosen field. This clause prohibits Monica from “render[ing] services,” without any

qualification whatsoever, to “any social media or shopper marketing company or agency in the

United States that is a direct competitor . . . .” Collective Bias Agreement § 5a. In other words,

Monica is barred from being employed by a competitor of Collective Bias, regardless of the

potential role that Monica may have. The Collective Bias Agreement also contains a Michigan

choice of law clause. Under Michigan law, there are no set of facts or any legitimate business

interest that would justify a complete bar on working in any capacity for a competitor. See Mapal,

Inc. v. Atarsia, 147 F. Supp. 3d 670, 679 (E.D. Mich. 2015) (holding that a non-compete that

barred any employment with a competitor was unreasonable);1 New World Sys. Corp. v. Jones,


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        The court in Mapal, at the motion to dismiss stage, significantly rewrote the non-compete
pursuant to an authorizing Michigan statute, and then enforced it as judicially written. Id. at 681.
Illinois courts, however, will not rewrite a per se unenforceable non-compete on public policy
grounds. See Medix Staffing Sols., Inc. v. Dumrauf, No. 17 C 6648, 2018 WL 1859039, at *3

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No. 06–11603, 2009 WL 996954, at *12 (E.D. Mich. Apr. 14, 2002) (“A limitation on working in

any capacity for a competitor of a former employer is too broad to be enforceable.”).

       Furthermore, to the extent that Michigan law would enforce such an overly-broad clause,

the choice of law analysis set forth in Brown & Brown, Inc. v. Mudron instructs this Court to

instead apply Illinois law. 887 N.E.2d 437, 440 (Ill. App. Ct. 2008) (discussed in greater detail

infra). Illinois courts find that a non-competition clause that bars a former employee from working

for a competitor in any capacity is unenforceable as a matter of law. See Dumrauf, 2018 WL

1859039, at *3 (granting motion to dismiss and holding that a non-compete that barred any type

of employment for a competitor was facially unreasonable); Stunfence, Inc. v. Gallagher Sec.

(USA), Inc., No. 01 C 9627, 2002 WL 1838128, at *7 (N.D. Ill. Aug. 12, 2002) (same).

       B.      The Restrictive Covenants in the CAPRAA Are Unenforceable.

       Plaintiffs are also seeking to have this Court enforce the restrictive covenants in the

CAPRAA. These covenants are unenforceable as a matter of law, for several reasons.

               1.     The CAPRAA’s Restrictive Covenants Are Unenforceable Because
                      They Were Not Made as Part of an Employment Agreement.

       As an initial matter, the CAPRAA has a North Carolina choice of law clause. Under North

Carolina law, the CAPRAA’s restrictive covenants are invalid because they were not made as part

of an employment contract. See Copypro, Inc. v. Musgrove, 754 S.E.2d 188, 191 (N.C. Ct. App.

2014) (stating that restrictive covenants against an employee must be “made a part of the

employment contract”).     Here, it is undisputed that the CAPRAA, by its terms, is not an

employment agreement with Monica. See CAPRAA § 21.3 (stating that the CAPRAA does not



(N.D. Ill. Apr. 17, 2018) (“[W]here [an agreement] involves a covenant not to compete whose
provisions are so broad as to be a ban on competition per se, courts should refuse to enforce or
modify the agreement.”). To hold otherwise would disincentivize parties from drafting reasonable
clauses.


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confer any employment rights and that such matters “are governed exclusively by the employment

agreement between the Company and you, if any”). Thus, Plaintiffs cannot enforce the restrictive

covenants in Sections 7 and 8 of the CAPRAA.

                2.      Alternatively, the CAPRAA’s Restrictive Covenants Fail for Lack of
                        Consideration.

        As alleged by Plaintiffs, the CAPRAA became effective on December 27, 2016, and

Monica resigned on August 24, 2017; under established law, Monica’s employment of less than

eight months is not enough to provide consideration for the CAPRAA’s restrictive covenants.

Under North Carolina law, Plaintiffs were required to provide Monica with additional value in

exchange for agreeing to burdensome restrictive covenants that hindered her future. See Mastrom,

Inc. v. Warren, 196 S.E.2d 528, 530 (N.C. Ct. App. 1973) (finding that a non-compete was

unenforceable because it was forced upon an existing employee, who did not receive any new

consideration in exchange for signing it); Cline v. Dahle, 563 S.E.2d 307, at *4-5 (N.C. Ct. App.

2002) (holding the same); Amerigas Propane, L.P. v. Coffey, No. 14 CVS 376, 2015 WL 6093207,

at *5-6 (N.C. Super. Ct. Oct. 15, 2015) (same).

        Here, the CAPRAA fails for lack of consideration. Monica was an employee of Collective

Bias, and after Inmar acquired Collective Bias, Monica continued to be an employee of Collective

Bias. See Compl. ¶ 37 (“After the transaction, Collective Bias retained its name and continued to

operate as its own entity . . . .”). Plaintiffs never allege any specific consideration that was provided

to Monica for the CAPRAA; rather, they generally conclude that “additional benefits” were

provided. Id. ¶ 38. This conclusory statement is not enough to allege sufficient consideration.

See Adams, 742 F.3d at 728 (“[T]hreadbare recitals of the elements of a cause of action, supported

by mere conclusory statements, do not suffice.”).

        And, to the extent that North Carolina would enforce the CAPRAA’s restrictive covenants,

this Court should not enforce these covenants under Illinois law for public policy reasons. Illinois

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has strict standards regarding the necessity of consideration in exchange for an employee signing

a non-compete. In Mudron,2 the court disregarded a Florida choice of law clause in a non-

competition agreement and instead applied Illinois law due to the Illinois’ public policy standards

in favor of employees. Id. And, in the context of consideration, the court, applying Illinois law,

held that seven months of continued employment was a “short period of time” that was “not

sufficient consideration under Illinois law to support the restrictive covenant.” Id. at 441. Here,

Monica signed the CAPRAA on December 27, 2016, and Monica resigned on August 24, 2017;

this short period is not enough continued employment to constitute valid consideration under

Illinois law. This Court should hold that the CAPRAA is unenforceable. See also Mid-Town

Petroleum, Inc. v. Gowen, 611 N.E.2d 1221, 1226 (Ill. App. Ct. 1993) (holding that seven months

of continued employment is not sufficient consideration to support a restrictive covenant);

Diedrich Ins. Agency, LLC v. Smith, 2011 IL App (5th) 100048, ¶ 12 (holding that mere months

of continued employment was not sufficient consideration).

               3.     The CAPRAA’s Non-Competition Clause Is Facially Unreasonable.

       Furthermore, the CAPRAA’s non-competition clause is a facially unreasonable restraint

upon fair competition and therefore unenforceable. Section 7 of the CAPRAA prohibits Monica

from working for any competitor in the same or substantially the same category in which she

engaged in the “Business,” and Section 11 defines “Business” in circular fashion as essentially any

“business or service . . . for which you have provided services during the term of your

employment.” CAPRAA, §§ 7, 11.1. This vague clause has no grammatical meaning, and that is




2
       The court in Mudron also looked at the employee’s connections to each state. 887 N.E.2d
at 440. Here, it is undisputed that Monica is a resident of Illinois (Compl. ¶ 11), and Plaintiffs
never allege that she had any nexus with North Carolina. Given Illinois’ public policy concerns
regarding the protection of employees and the holding of Mudron, this Court should not require
the CAPRAA to be supported by less consideration than what Illinois courts would allow.

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why Plaintiffs seek to use it broadly to bar Monica from the marketing industry as a whole.3

Barring Monica from an entire industry is patently unreasonable and does not serve to protect any

legitimate business interests of Plaintiffs. See Farr Assocs., Inc. v. Baskin, 530 S.E.2d 878, 882

(N.C. Ct. App. 2000) (dismissing claim based upon an unreasonably broad non-compete);

Dumrauf, 2018 WL 1859039, at *3 (same).

       C.      Plaintiffs Have Not Alleged that Monica Breached Any Non-Solicitation
               Obligations or Caused Any Damages.

       Even if Plaintiffs could enforce the non-solicitation clauses in either the Collective Bias

Agreement or the CAPRAA, Plaintiffs have not sufficiently alleged that Monica ever breached

such clauses or caused any damages.        Plaintiffs merely conclude that Monica is soliciting

customers. At best, Plaintiffs merely allege that Monica contacted one customer4 on the last day

of her employment with Collective Bias, and then called this customer once on behalf of Ahalogy.

Compl. ¶ 57. Moreover, Plaintiffs never allege that they lost any customers or accounts. This bare

allegation is not enough to meet Plaintiffs’ burden to allege breach, causation and damages. See

Stericycle, Inc. v. Carney, No. 12 C 9130, 2013 WL 3671288, at *6 (N.D. Ill. July 12, 2013)

(dismissing restrictive covenants claim due to inadequate factual allegations regarding breach).

Plaintiffs furthermore have not alleged any facts supporting its conclusion that Monica shared

confidential customer information with Ahalogy, despite Monica resigning seven months ago and

Plaintiffs having seven months to develop their case theory. See id. (“If [plaintiff] has some basis

to support its conclusory allegation that [defendant] shared confidential information with [his new




3
      Understanding the scope of this clause would require discovery on every specific task
Monica ever engaged in on behalf of Collective Bias during the entire history of her employment.
4
        Plaintiffs never provide any detail as to this specific customer, let alone specify the
relationship that Monica had with this customer prior to leaving Collective Bias.

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employer], it is incumbent on [plaintiff] to include at least some factual allegations in its

complaint”). For this reason, Plaintiffs’ breach of contract claims should be dismissed.

         D.     The Confidentiality Agreements in the Collective Bias Agreement and the
                CAPRAA Are Unenforceable.

         Plaintiffs also seek to enforce the confidentiality provisions in the Collective Bias

Agreement and the CAPRAA, however, these provisions are not limited in time or geographic

scope. Thus, under Illinois law, these provisions do not provide any greater protection or confer

any greater rights other than what is provided under the ITSA; to the extent that Plaintiffs claim

otherwise, the agreements are unenforceable. See Carlson Grp., Inc. v. Davenport, No. 16 C

10520, 2016 WL 7212522, at *5 (N.D. Ill. Dec. 13, 2016) (holding that an unlimited employee

confidentiality clause was unenforceable); Packaging v. Hein, No. 14 C 9670, 2015 WL 6164957,

at *7-8 (N.D. Ill. Oct. 20, 2015) (same).

II.      PLAINTIFFS’ TRADE SECRET CLAIMS FAIL AS A MATTER OF LAW.

         Plaintiffs also bring trade secret misappropriation claims under the ITSA and the Defend

Trade Secrets Act (“DTSA”). These claims fail as a matter of law.

         A.     Plaintiffs Have Not Alleged a Valid Trade Secret Under Either the ITSA or
                the DTSA.

         In order to maintain an ITSA claim, Plaintiffs must allege that the subject information was

(a) a trade secret, (b) misappropriated and (c) used in the defendant's business. Kim v. Dawn Food

Prods., Inc., 206 F. App’x 558, 560 (7th Cir. 2006). To establish a trade secret, the ITSA requires

that Plaintiffs point to a specific type of information that: “(1) is sufficiently secret to derive

economic value, actual or potential, from not being generally known to other persons who can

obtain economic value from its disclosure or use; and (2) is the subject of efforts that are reasonable

under the circumstances to maintain its secrecy or confidentiality.” 765 ILCS 1065/2(d). The

DTSA has a similar definition of what constitutes a valid trade secret, and courts often construe



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the ITSA and DTSA together on this issue. See 18 U.S.C. § 1839(3); Signal Fin. Holdings LLC

v. Looking Glass Fin. LLC, No. 17 C 8816, 2018 WL 636769, at *4 n.7 (N.D. Ill. Jan. 31, 2018)

(stating that another state’s definition of “trade secret” is “substantially similar to the DTSA and

ITSA definitions”).

               1.      Plaintiffs Have Not Sufficiently Alleged a Single Trade Secret.

       Plaintiffs initially attempt to describe trade secrets by discussing their trademarked or

copyrighted technology platforms. See Compl. ¶¶ 24-28. These documents are, by their publicly-

registered nature, not secret. See, e.g., Phillips v. Avis, Inc., No. 95 C 1566, 1996 WL 288782, at

*3 (N.D. Ill. May 29, 1996) (holding that the information was not a trade secret because “it was

readily available through the Copyright Office”). Putting this aside, the relevant inquiry is not

whether Plaintiffs can generally describe confidential information used in their business. Rather,

the focus must be on whether the documents Plaintiffs allege Monica misappropriated contain

trade secrets. This is a much narrower inquiry that renders significant portions of the Complaint,

such as Paragraphs 13-28 and 77-80, irrelevant. See Segerdahl Corp. v. Ferruzza, No. 17 C 3015,

2018 WL 828062, at *3 (N.D. Ill. Feb. 10, 2018) (“Although [the plaintiff] makes more definite

allegations of what constitutes trade secrets elsewhere in the complaint, none of those allegations

relate to the alleged misappropriation by [the defendant]”); Allied Benefit Sys., Inc. v. Ramirez,

188 F. Supp. 3d 704, 707 (N.D. Ill. 2015) (dismissing complaint where the plaintiff could not

identify any confidential information that the defendant actually disclosed or used); GlobalTap

LLC v. Elkay Mfg. Co., No. 13 C 632, 2015 WL 94235, at *6 (N.D. Ill. Jan. 5, 2015) (“The court

cannot analyze whether a piece of information was sufficiently secret to derive economic value or

whether [the plaintiff] took reasonable efforts to keep information secret without first knowing,

with particularity, what information comprises the secret.”).




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       Plaintiffs’ trade secret claims can be distilled to Paragraphs 54-55 of the Complaint, which

discuss a few emails that Monica allegedly forwarded to herself before resigning from Collective

Bias. In these paragraphs, Plaintiffs describe email content consisting of three categories: (1) client

“contact information” (Compl. ¶ 54(a), (e)-(g)); (2) “research” on market and client trends (id. ¶¶

54(b)-(f), 55); and (3) summaries of client “discussions,” undefined “plans,” and “talking points.”

Id. ¶ 54(a), (c), (f). None of these categories denote a trade secret under the law.

       Plaintiffs’ first category, client contact information, is not a trade secret. See Alpha Sch.

Bus Co. v. Wagner, 910 N.E.2d 1134, 1153 (Ill. App. Ct. 2009) (dismissing complaint because

client contact information did not meet the definition of a trade secret); Sys. Dev. Servs., Inc. v.

Haarmann, 907 N.E.2d 63, 75 (Ill. App. Ct. 2009) (“Locating potential customers is merely a

matter of identifying businesses in a particular town, county, or area and looking up their contact

information.”). Plaintiffs’ second general category, “research,” fares no better. Plaintiffs’ alleged

research consists of “the nationwide distribution of brand names for a client” (Compl. ¶ 54(b)), a

client’s “marketing strategies” (id. ¶ 54(c)), client “sales” and “priorities” (id. ¶ 54(d)-(e)), and

“developments in a subset of the beverage industry.” Id. ¶ 54(f). This Court can infer that such

information, as described by Plaintiffs, is “within the realm of general skills and knowledge in the

industry.” Pope v. Alberto-Culver Co., 694 N.E.2d 615, 617 (Ill. App. Ct. 1998) (“[I]nformation

generally known or understood within an industry even if not to the public at large” does not

warrant trade secret protection. “It is well established that a product or service that is within the

realm of general skills and knowledge in the industry cannot be a trade secret.”). Plaintiffs bear

the burden to overcome this logical interpretation, and they fail. Indeed, Plaintiffs cannot show

why general “marketing” research is by its nature a trade secret. Merely referring to “research,”

without specifying who created the research, where the underlying information was derived or the

time and the money it took to develop the research, is insufficient under Rule 12(b)(6). See Hein,


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2015 WL 6164957, at *3 (partially dismissing trade secret claim because plaintiff did not meet its

burden of alleging the effort, time and resources used to develop a compilation).

       Finally, Plaintiffs’ other phrases, such as “plans,” “summaries of client discussions” and

“talking points,” are not specific enough to meet Plaintiffs’ pleadings burden under the ITSA. See

Carpenter v. Aspen Search Advisers, LLC, 10 C 6823, 2011 WL 1297733, at *3 (N.D. Ill. Apr. 5,

2011) (dismissing complaint because the plaintiff only alleged broad categories of information as

trade secrets); Segerdahl Corp., 2018 WL 828062, at *3 (dismissing complaint where the plaintiff

only alleged broad areas of technology as trade secrets); Thermal Zone Products Corp. v. Echo

Eng., Ltd., No. 93 C 556, 1993 WL 358148, at *5 (N.D. Ill. Sept. 4, 1993) (dismissing complaint

that merely referenced “plans” and “specifications” because such “blanket generalizations . . .

failed to specify with any exactitude which pieces of information actually constitute trade

secrets.”). And, as Plaintiffs describe them, these categories are information that either has been

disseminated to clients (i.e. client discussion summaries), or information intended to be shared (i.e.

talking points). See Hein, 2015 WL 6164957, at *4 (“But as the defendants point out, information

shared with customers with no confidentiality restrictions attached to them does not warrant trade

secret protection.”). None of these are secrets. To hold otherwise would allow a plaintiff to harass

an individual worker in protracted litigation merely through the use of conclusory phrases. See

Adams, 742 F.3d at 728 (“[T]hreadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.”).

               2.      Plaintiffs Have Not Sufficiently Alleged How They Safeguarded
                       Alleged Trade Secrets.

       Furthermore, both the ITSA and DTSA require Plaintiffs to provide allegations showing

that they have taken steps to adequately maintain the secrecy of alleged trade secrets. Plaintiffs

generally allege that they have safeguarding policies. Compl. ¶ 80. There are, however, no

allegations as to how Plaintiffs safeguarded the specific information alleged in Paragraphs 54 and

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55; Plaintiffs do not allege: (1) who or how many people had access to these documents; (2) when

these documents were created; (3) whether they were taken from a safeguarded network or

internally available to all employees. Plaintiffs do not even allege who owned the data: Inmar or

Collective Bias. Thus, the Complaint does not meet Rule 12(b)(6) pleading requirements and

should be dismissed. See Alpha Sch., 910 N.E.2d at 1153 (dismissing trade secret claim because

plaintiffs did not allege how trade secrets were maintained).

       B.      Plaintiffs Have Not Sufficiently Alleged Wrongful Use of Trade Secrets by
               Ahalogy.

       Finally, Plaintiffs have not pled that Defendants actually used Plaintiffs’ trade secrets in

their business. Rather, Plaintiffs merely speculate as to use. Despite allegedly conducting a

damages assessment (see Compl. ¶ 114) and possessing the computer devices that Monica used to

allegedly send herself information, Plaintiffs never assert that Monica sent any specific trade secret

to Ahalogy. Plaintiffs also never allege that they lost any customer account or business at all,

much less business related to a specific trade secret wrongfully taken. See id. At best, and after

seven months have passed since Monica left Collective Bias, Plaintiffs merely conclude, in one

allegation, without any facts, that Defendants have won “new customers” based upon wrongful

use of Plaintiffs’ trade secrets. Id. ¶ 81. This lone conclusion cannot be enough to sustain

Plaintiffs’ pleadings burden. See Woodard v. Harrison, No. 08–2167, 2008 WL 4724370, at *3

(C.D. Ill. Oct. 24, 2008) (dismissing trade secret complaint because plaintiff did not allege “use”

other than speculating as to future harm); Abbott Labs. v. Chiron Corp., No. 97 C 0519, 1997 WL

208369, at *3 (N.D. Ill. Apr. 23, 1997) (finding that complaint did not sufficiently allege

misappropriation and use); see also Alpha Sch., 910 N.E.2d at 1155 (“[P]laintiffs failed to properly

plead that defendants used the information in their business, which is also a required element in a

misappropriation of trade secrets claim.”). Nor should this Court infer that Defendants are using

stolen trade secrets merely because Monica is engaged in marketing sales. See Allied Benefit, 188

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F. Supp. 3d at 707 (dismissing complaint and stating that “the mere fact that a person assumed a

similar position at a competitor does not, without more, make it inevitable that he will use or

disclose trade secret information.” (internal citations omitted)). For these reasons, Plaintiffs’ trade

secret claims fail as a matter of law.

III.   PLAINTIFFS FAIL TO PLEAD A VALID CLAIM UNDER THE COMPUTER
       FRAUD AND ABUSE ACT.

       This Court should also dismiss Plaintiffs’ Count V claim under the Computer Fraud and

Abuse Act (“CFAA”) (18 U.S.C. 1030, et seq.), because Plaintiffs fail to allege that Defendants’

actions damaged any of Plaintiffs’ computer systems. Instead, Plaintiffs seek to rehash their trade

secret allegations as a CFAA claim, despite the fact that “Congress intended to restrict civil actions

brought under CFAA.” TriTeq Lock & Sec. LLC v. Innovative Secured Sols., LLC, No. 10 CV

1304, 2012 WL 394229, at *7 (N.D. Ill. Feb. 1, 2012) (J. Norgle); see Instant Tech., LLC v.

DeFazio, 40 F. Supp. 3d 989, 1018 (N.D. Ill. 2014) (“The ‘underlying concern of the [CFAA] is

damage to data and . . . the statute was not meant to cover the disloyal employee who walks off

with confidential information.’” (alteration in original) (citations omitted)); Del Monte Fresh

Produce, N.A., Inc. v. Chiquita Brands Int’l Inc., 616 F. Supp. 2d 805, 813 (N.D. Ill. 2009) (“The

CFAA should not be used to prosecute employees who are merely disloyal.”).

       Plaintiffs have brought CFAA claims under 18 U.S.C. 1030(a)(2)(C), (a)(5)(C) and (b).5

A claim under Section (a)(2)(C) of CFAA requires allegations of either “damage” or “loss,” as

those terms are defined by statute, and a Section (a)(5) claim requires allegations of both damage

and loss. TriTeq, 2012 WL 394229, at *6. The Complaint does not adequately plead facts that

support either term. CFAA defines “damage” as “any impairment to the integrity or availability



5
       Under CFAA, claims under Section 1030(b) contain the pleading requirements of
Section (a) in regards to damages and loss. See 18 U.S.C. 1030(b).


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of data, a program, a system, or information.” 18 U.S.C. 1030(e)(8); see TriTeq, 2012 WL 394229,

at *6 (holding that the term “damage” refers to “the destruction, corruption, or deletion of

electronic files, the physical destruction of a hard drive, or any diminution in the completeness or

usability of the data on a computer system.” (internal quotations omitted)). Plaintiffs have not

alleged that Monica’s actions damaged any aspect of Plaintiffs’ computer systems. See Compl. ¶¶

110-16.

       Despite this omission, Plaintiffs attempt to circumvent CFAA’s statutory intent by instead

alleging that they suffered “loss” consisting of a “damage assessment, which is ongoing and will

exceed $5,000 well before the expiration of a one year period.” Id. ¶ 114. This allegation is

insufficient under CFAA; a forensics examination does not constitute “loss” unless it follows

conduct that actually caused computer damage or service interruption. TriTeq, 2012 WL 394229,

at *7 (dismissing CFAA claim because the plaintiff “ha[d] not alleged that the costs it incurred

followed a CFAA offense that damaged its computers or computer systems, or that its service was

interrupted”); CustomGuide v. CareerBuilder, LLC, 813 F. Supp. 2d 990, 998 (N.D. Ill. 2011)

(dismissing CFAA claim because the plaintiff “ha[d] not alleged any facts connecting its purported

‘loss’ to an interruption of its computer systems”); Cassetica Software, Inc. v. Comput. Scis. Corp.,

No. 09 C 0003, 2009 WL 1703015, at *4 (N.D. Ill. June 18, 2009) (Alleged costs incurred in

“assessing and responding to the improper actions of [the defendant]” fall outside CFAA’s

definition of “loss” because the plaintiff “ha[d] not properly alleged that it incurred an interruption

of service or an impairment of data.”). To hold otherwise would “impermissibly broaden the

applicability of CFAA to provide seemingly unfettered access to federal courts to adjudicate state

law issues incidental to computer use.” TriTeq, 2012 WL 394229, at *7.6


6
       There are some district courts in the Northern District of Illinois that hold a contrary view
and allow a plaintiff to bring a CFAA claim without alleging any damage or interruption to its
computer systems. In TriTeq, this Court rejected such an interpretation, following other cases in

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       Finally, and as a separate basis for dismissal, Plaintiffs fail to allege damages in excess of

CFAA’s $5,000 threshold. See 18 U.S.C. 1030(c)(4). Instead, Plaintiffs merely speculate that

they will suffer such an amount in a year’s time. See Compl. ¶ 114. Under CFAA, this is

insufficient. CFAA requires Plaintiffs to allege not only that they suffered (past tense) $5,000 in

damages, but also “damages as well as an explanation for how [Defendants’] conduct caused

them.” Tamlyn v. Bluestone Advisors, LLC, No. 17 C 8893. 2018 WL 1920184, at *3 (N.D. Ill.

Apr. 24, 2018). Plaintiffs “cannot hope to limp into court on inference alone.” Id. For these

reasons, Plaintiffs’ CFAA claim fails as a matter of law.

IV.    PLAINTIFFS’ COMMON LAW CLAIMS ARE ALL PREEMPTED BY THE ITSA
       AND ALTERNATIVELY, FAIL TO STATE A CLAIM.

       Plaintiffs bring common law claims against Defendants based upon tortious interference

with contract (Count VI); conversion (Count VII); trespass to chattels (Count VIII); unjust

enrichment (Count IX); and civil conspiracy (Count X). All of these claims are preempted by the

ITSA. The ITSA preempts “conflicting tort, restitutionary, unfair competition, and other laws of

this State providing civil remedies for misappropriation of a trade secret.” See 765 ILCS 1065/8.

The Seventh Circuit has applied the preemptive language of the ITSA broadly, even where the

alleged information wrongfully taken does not rise to the level of a trade secret. See Spitz v. Proven

Winners N. Am., LLC, 759 F.3d 724, 733 (7th Cir. 2014) (finding unjust enrichment claims

preempted); Cronimet Holdings, Inc. v. Keywell Metals, LLC, 73 F. Supp. 3d 907, 920 (N.D. Ill.

2014) (recognizing the broad preemptive reach of the ITSA).




the Northern District that refuse to allow plaintiffs to rehash trade secret claims as CFAA
allegations. Id.

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       A.      Plaintiff’s Tortious Interference Claim Against Ahalogy Should Be Dismissed
               Because It Is Preempted and Also Fails to State a Valid Claim.

       In Count VI, Plaintiffs bring a claim against Defendants for tortious interference with

contract. To the extent that Plaintiffs interpret Count VI based upon Ahalogy’s alleged use of

Plaintiffs’ confidential information, this claim is preempted by the ITSA. See Thomas & Betts

Corp. v. Panduit Corp., 108 F. Supp. 2d 968, 971 (N.D. Ill. 2000) (finding that tortious interference

claim was preempted); Labor Ready, Inc. v. Williams Staffing, LLC, 149 F. Supp. 2d 398, 410

(N.D. Ill. 2001) (same); Higher Gear Grp., Inc. v. Rockenbach Chevrolet Sales, Inc., 223 F. Supp.

2d 953, 959 (N.D. Ill. 2002) (same).

       Furthermore, Count VI fails to plead the elements of a tortious interference claim, which

are: “(1) the existence of a valid and enforceable contract between the plaintiff and a third party;

(2) defendant's awareness of the contract; (3) defendant's intentional and unjustified inducement

of a breach; (4) defendant's wrongful conduct caused a subsequent breach of the contract by the

third party; and (5) damages.” Echo, Inc. v. Timberland Machs. & Irrigation, Inc., 661 F.3d 959,

968 (7th Cir. 2011). First, the Collective Bias Agreement and the CAPRAA are unenforceable.

See supra. Second, Plaintiffs merely allege that Ahalogy hired Monica “with the knowledge and

intent that [Monica] would breach those contracts as its new Director of Sales.” Compl. ¶ 119.

This allegation is not enough to allege inducement and wrongful conduct on the part of Ahalogy.

To be liable for tortious interference, a defendant must have been shown to have “caused the

interference,” through “active persuasion, encouragement, or inciting that goes beyond merely

providing information in a passive way.” Chocolate Indus., Inc. v. Cornerstone Promotion, Inc.,

No. 11 C 4649, 2012 WL 3598754, at *2 (N.D. Ill. Aug. 20, 2012) (citing Illinois case law).

“Lawful competition does not constitute unjustified interference.” Pampered Chef v. Alexanian,

804 F. Supp. 2d 765, 807 (N.D. Ill. 2011). And, Plaintiffs have failed to specify how they have



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been damaged; there are no allegations of lost customers or accounts based upon specific actions

by Ahalogy. Count VI therefore must be dismissed.

       B.      Plaintiff’s Conversion, Unjust Enrichment, Trespass to Chattel and Civil
               Conspiracy Claims Are All Preempted by the ITSA.

       Plaintiffs’ Count VII conversion claim alleges that Monica failed to return confidential

information to Plaintiffs, and is instead “using” and “disclosing” this information. Compl. ¶¶ 122-

25. These same theories are rehashed in Plaintiffs’ trespass to chattel, unjust enrichment7 and civil

conspiracy claims; all of these claims are predicated upon Monica wrongfully disclosing and

Defendants wrongfully using Plaintiffs’ confidential information. These claims are nothing more

than relabeled trade secret misappropriation claims, and are preempted by the ITSA. See Am. Ctr.

for Excellence in Surgical Assisting Inc. v. Cmty. Coll. Dist. 502, 190 F. Supp. 3d 812, 825 (N.D.

Ill. 2016) (holding that conversion claim was preempted under the ITSA); Cronimet Holdings, 73

F. Supp. 3d at 919-20 (holding that unjust enrichment claim was preempted); Segerdahl Corp.,

2018 WL 828062, at *7 (holding that civil conspiracy claim was preempted). As Plaintiffs have

simply re-pled their misappropriation claim in the guise of various common law claims, they

should all be dismissed with prejudice.

                                          CONCLUSION

       For the abovementioned reasons, Defendants respectfully request that the Complaint be

dismissed in its entirety with prejudice, and for any other relief that this Court deems proper.




7
         Plaintiffs’ unjust enrichment claim fails on an additional, separate basis because it
references existing contracts between the parties. When a contract governs a relationship between
two parties, neither party may bring a claim of unjust enrichment unless the claim falls outside the
contract. See Liautaud v. Liautaud, 221 F.3d 981, 989 (7th Cir. 2000) (“We also agree with the
district court that Illinois law does not allow a claim for unjust enrichment when the underlying
contract has been held to be void as against public policy.”).

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  Dated: May 24, 2018                            Respectfully submitted,


  MONICA MURPHY VARGAS                           MLW SQUARED, INC., d/b/a AHALOGY


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